      Case 3:23-cv-00233 Document 13 Filed on 09/19/23 in TXSD Page 1 of 1
                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                    September 19, 2023
                    UNITED STATES DISTRICT COURT
                                                                     Nathan Ochsner, Clerk
                     SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION

KINDI SHEPARD,                         §
                                       §
       Plaintiff,                      §
                                       §
VS.                                    §             3:23-CV-233
                                       §
DEUTSCHE BANK NATIONAL                 §
TRUST COMPANY,                         §
                                       §
       Defendant.                      §

                                   ORDER

       Before the court is the defendant’s motion to dismiss. Dkt. 8. On

September 15, the plaintiff filed a notice of non-opposition to the defendant’s

motion and requested that the court grant it. Dkt. 12. Accordingly, the court

grants the defendant’s motion to dismiss. The court will enter final judgment

separately.

       Signed on Galveston Island this 19th day of September, 2023.




                                        __________________________
                                        JEFFREY VINCENT BROWN
                                        UNITED STATES DISTRICT JUDGE




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